             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION
           CRIMINAL CASE NO. 1:12-cr-00020-MR-DLH-2


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                      ORDER
                                )
JOAN LUSK CASHION,              )
                                )
                   Defendant.   )
_______________________________ )

     THIS MATTER is before the Court on the Government’s Motion to

Dismiss Without Prejudice [Doc. 136].

     For the reasons stated therein, and for good cause shown, the Court

will grant the Government’s Motion.

     IT IS, THEREFORE, ORDERED that the Government’s Motion [Doc.

136] is GRANTED, and the counts set forth in the Bill of Indictment against

the Defendant Joan Cashion are hereby DISMISSED WITHOUT

PREJUDICE.

     IT IS SO ORDERED.          Signed: January 30, 2013




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